
25 A.3d 1024 (2011)
421 Md. 191
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Egan Patrick O'BRIEN, Respondent.
Misc. Docket AG No. 98, September Term, 2010.
Court of Appeals of Maryland.
August 3, 2011.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 3rd day of August, 2011,
ORDERED, by the Court of Appeals of Maryland, that Egan Patrick O'Brien is hereby, disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Egan Patrick O'Brien from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
